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EVIDENCE INVENTORY AND RECEIPT
WILLIAMS COUNTY SHERIFF'S OFFICE

COUNTY

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Case 1:23-cr-00118-DMT Document 41-14 Filed 12/06/23 Page 2 of 5

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EVIDENCE INVENTORY AND RECEIPT
WILLIAMS COUNTY SAERIFF'S OFFICE
DEPUTY CASS NUMBEA PAGE

NAME & ADDRESS OF SUBIECTANCTIM

DATETIME

LOCATION OF RECOVERY

ITEM # SS SCRIPTIGN AND LIST OF EVIDENCE POLED BY LOGATION OF PROPERTY OF EVIDENCE FOUNDRECEIVED
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Case 1:23-cr-00118-DMT Document 41-14 Filed 12/06/23 Page 3 of 5

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EVIDENCE INVENTORY AND RECEIPT
WILLIAMS COUNTY SHERIFF'S OFFICE

COUNTY

CASS HUMEES

DEPUTY

NAME & ADDRESS OF SUBIEZOTVICTIM

LOCATION GF RECOVERY

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CHAIN OF CUSTODY
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PROPERTY RELEASE

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= VIDENCE INVENTORY AND RECEIPT
WILLIAMS COUNTY SHERIFF'S OFFICE

COUNTY

DEPUTY CASE NUMBER PAGE
MAME & ADDRESS OF SUQIACTAICTIA DATETIME

LOCATION OF RECOVERY

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EVIDENCE INVENTORY AND RECEIPT
WILLIGMS COUNTY SHERIFF'S OFFICE

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LOCATION GF RECOVERY
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